         Case 18-32293-KLP      Doc 13     Filed 06/21/18     Entered 06/21/18 14:46:10       Desc Main
                          UNITED STATES BANKRUPTCY
                                    Document Page 1 of 2COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

In Re:      Marita Capehart Wilton                                         CASE NO. 18-32293-KLP


                           MOTION TO DISMISS,
               NOTICE OF MOTION AND NOTICE OF THE HEARING


          NOW COMES the Chapter 13 Trustee and moves this Court to dismiss this case as provided in
11 U.S.C. 1307(c)(6) as the debtor(s) are in default in making the first payment under the plan.

         Inasmuch as the legal basis for this motion is cited herein, it is respectfully requested that the
requirement of a separate memorandum of law in support of this motion be waved.

          Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
to consult one.)

           If you do not want the court to grant the relief sought in the motion, or if you want the court to
consider your views on the motion, then on or before seven (7) days before the date of the hearing, you or
your attorney must:


  x File with the court, at the address shown below, a written response pursuant to Local Bankruptcy
Rule 9013-1(H). If you mail your response to the court for filing, you must mail it early enough so the
court will receive it on or before the date stated above.

                                                   Clerk of Court
                                                   United States Bankruptcy Court
                                                   701 East Broad Street, Suite 4000
                                                   Richmond, VA 23219




                                           You must also mail a copy to:
                                                 Suzanne E. Wade, Chapter 13 Trustee
                                                 P.O. Box 1780
                                                 Richmond, VA 23218-1780



Suzanne E. Wade
Chapter 13 Trustee
P.O. Box 1780
Richmond, VA 23218-1780
(804) 775-0979
VSBN #31868
        Case 18-32293-KLP             Doc 13      Filed 06/21/18 Entered 06/21/18 14:46:10                     Desc Main
                                                  Document     Page 2 of 2
NOTICE IS HEREBY GIVEN THAT A HEARING ON THIS MOTION

WILL BE HELD AT U. S. BANKRUPTCY COURT, U. S. COURTHOUSE,

ROOM 5100, 701 EAST BROAD STREET, RICHMOND, VIRGINIA 23219,

ON August 01, 2018, AT 9:15 AM


      I f n o ti m el y r e s p o n s e h a s b e e n f il e d o p p o si n g t h e r eli e f r e q u e s t e d , t h e C o u r t
may grant the relief requested in the motion.


        If you or your attorney do not take these steps, the court may decide that you do not oppose the
relief sought in the motion and may enter an order granting that relief.

                                                                                         /s/ Suzanne E. Wade
Dated: June 21, 2018                                                                     _______________________
                                                                                         Suzanne E. Wade



                                                       Certificate of Service

       I hereby certify that I have this 21st day of June, 2018, mailed or hand-delivered a true copy of the
foregoing Notice of Motion to the debtor(s) Marita Capehart Wilton, 2128 Mountain View, Powhatan,
VA 23139, and debtor(s) attorney, THE MERNA LAW GROUP, e-mail: pallen@mernalaw.com.



                                                            /s/ Suzanne E. Wade
                                                       ____________________________
                                                                Suzanne E. Wade



Suzanne E. Wade
Chapter 13 Trustee
P.O. Box 1780
Richmond, VA 23218-1780
(804) 775-0979
VSBN #31868
